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                                  United States District Court
                                   DISTRICT OF MONTANA BILLINGS DIVISION


 UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE


 V.

                                                                           Case Number: CR 2I-108-BLG-SPW-1
 BRANDON JESS ROEHL                                                        USM Number: 77492-509
                                                                          Evangelo Arvanetcs
                                                                           Defendant's Attorney



THE DEFENDANT:
      pleaded guilty to counl(s)                         1
      pleaded guilty to count(s) before a U.S.
 □    Magistrate Judge, which was accepted by the
      court.

      pleaded nolo contendcre to count(s) which
 □
      was accepted by the court
      was found guilty on count(s) after a plea of
 □
      not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                              Offense Ended   Count
 18:922K..F Possession Of A Firearm With An Obliterated Serial Number and                         08/19/2020      1
 18:924(D) Criminal Forfeiture.




fhe defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Refonu Act of 1984.


       It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of
material changes in economic circumstances.
                                                             June 24, 2022
                                                                    [Imposition of Judgment



                                                             lignaturc of Judge

                                                             Susan P. Walters
                                                             United States District Judge
                                                             Name and fitlc of Judge

                                                             June_24, 2022
                                                             Date
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